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                       UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF NEW JERSEY
                              NEWARK VICINAGE

 In re:                                   Chapter 11

 JERRY A. NARDELLA,                       Case No. 17-31934 JKS

                      Debtor.


                         PLAN OF REORGANIZATION


      Jerry A. Nardella, Debtor/Plan Proponent respectfully submits its
Plan of Reorganization pursuant to Chapter 11, Title 11 of the United
States Code, in the form annexed hereto and made a part hereof.


Dated: March 8, 2019                 Proponent:     Jerry A. Nardella, Debtor
                                     By:

                                     /s/ Scott D. Sherman
                                     Scott D. Sherman
                                     MINION & SHERMAN
                                     Attorneys for Jerry A. Nardella, Debtor
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                                                    I.   INTRODUCTION
         Jerry A. Nardella (“Debtor”) is the Debtor in a Chapter 11

bankruptcy case.                  On October 30, 2017, Debtor commenced a bankruptcy

case by filing a voluntary Chapter 11 petition under the United States

Bankruptcy Code (“Code”), 11 U.S.C. §101, et seq. Chapter 11 of the

Code allows the Debtor, and under some circumstances, creditors and

other       parties          in     interest,            to    propose        a   plan   of   reorganization

(“Plan”).             The Plan may provide for the Debtor to reorganize by

continuing to operate, to liquidate by selling assets of the estate, or

a combination of both.                        This document is the Chapter 11 Plan (“Plan”)

proposed by Debtor. Sent to you in the same envelope as this document

is the Disclosure Statement which has been approved by the United

States Bankruptcy Court for the District of New Jersey (The “Court”),

and which is provided to help you understand the Plan.

         This is a reorganizing plan.                          In other words, the Proponent seeks

to accomplish payments under the Plan by dedicating a portion of his

disposable income from future earnings.                                       The Effective Date of the

proposed          Plan      is     the      first        day       of   the   second     month   immediately

following the date of confirmation of Debtor’s Chapter 11 Plan (for

example, should Debtor’s plan of reorganization be confirmed on October

15, 2019, the effective date of the plan would be December 1, 2019).




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             II.             CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS
    A. General Overview
         As required by the Bankruptcy Code, the Plan classifies claims
and interests in various classes according to their right to priority
of payments as provided in the Bankruptcy Code.                           The Plan states
whether each class of claims or interests is impaired or unimpaired.
The Plan provides the treatment each class will receive under the
Plan.
    B. Definitions
Scope of Definitions.                      For purposes of this Plan, except as expressly
otherwise provided or unless the context otherwise requires, all
capitalized terms not otherwise defined shall have the meanings
assigned to them in this Section of the Plan.                           In all references
herein to any parties, persons, entities, or corporations, the use of
any particular gender or the plural or singular number is intended to
include the appropriate gender or number as the text may require.
                      i. Administrative Expense shall mean any cost or expense
                            of administration of the Chapter              11 case allowable
                            under Section 507(a) of the Bankruptcy Code,
                            including, without limitation, any actual and
                            necessary expenses of preserving the estate of the
                            Debtor, any actual and necessary expense of operating
                            the business of the Debtor, any indebtedness or
                            obligation incurred or assumed by the Debtor in
                            connection with the conduct of its business or for the
                            acquisition or lease of property or the rendition of

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                            services to the Debtor, all allowances of compensation
                            and reimbursement of expenses, any fees or charges
                            assessed against the estate of any Debtor under
                            Chapter 123, Title 28, of            the United States Code, and
                            the reasonable fees and expenses incurred by the
                            Proponent in connection with the proposal and
                            confirmation of this Plan.
                    ii. Allowed when used as an adjective preceding the words
                            “Claims” or “Equity Interest”, shall mean any Claim
                            against or Equity Interests of the Debtor, proof of
                            which was filed on or before the date designated by
                            the Bankruptcy Court as the last date for filing
                            proofs of claim or Equity Interest against such
                            Debtor, or, if no proof of claim or Equity Interest is
                            filed, which has been or hereafter is listed by the
                            Debtor as liquidated in amount and not disputed or
                            contingent and, in either case, a Claim as to which no
                            objection to the allowance thereof has been interposed
                            with the applicable period of limitations fixed by the
                            Plan, the Bankruptcy Code, the Federal Rules of
                            Bankruptcy Procedure, Local Rules, or as to which any
                            objection has been interposed and such Claim has been
                            allowed in whole or in part by a Final Order.                  Unless
                            otherwise specified in the Plan, “Allowed Claim” and
                            “Allowed Equity Interest” shall not, for purposes of
                            computation of distributions under the Plan, include

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                            interest on the amount of such Claim or Equity
                            Interest from and after the Petition Date.
                  iii. Allowed Administrative Expense shall mean any
                            Administrative Expense allowed under Section 507(a)(1)
                            of the Bankruptcy Code.
                    iv. Allowed Unsecured Claim shall mean an Unsecured Claim
                            that is or has become an Allowed Claim.
                      v. Bankruptcy Code shall mean the Bankruptcy Reform Act
                            of 1978, as amended, and as codified in Title 11 of
                            the United States Code.
                    vi. Bankruptcy Court shall mean the United States
                            Bankruptcy Court for the District of New Jersey having
                            jurisdiction over the Chapter 11 Case and, to the
                            extent of any reference made pursuant to 28 U.S.C.
                            Section 158, the unit of such District Court
                            constituted pursuant to 28 U.S.C. Section 151.
                  vii. Bankruptcy Rules shall mean the rules and forms of
                            practice and procedure in bankruptcy, promulgated
                            under 28 U.S.C. Section            2075 and also referred to as
                            the Federal Rules of Bankruptcy Procedure.
                viii. Business Day means and refers to any day except
                            Saturday, Sunday, and any other day on which
                            commercial banks in New Jersey are authorized by law
                            to close.
                    ix. Chapter 11 Case shall mean a case under Chapter 11 of
                            the Bankruptcy Code in which Jerry A. Nardella is the

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                            Debtor.
                      x. Claim shall mean any right to payment from the Debtor
                            whether or not such right is reduced to judgment,
                            liquidated, unliquidated, fixed, contingent, matured,
                            unmatured, disputed, undisputed, legal, equitable,
                            secured, or unsecured; or any right to an equitable
                            remedy for breach of performance if such breach gives
                            rise to a right of payment from the Debtor whether or
                            not such right to an equitable remedy is reduced to
                            judgment, fixed, contingent, matured, unmatured,
                            disputed, undisputed, secured, or unsecured.                 All
                            claims as such term is defined in section 101(5) of
                            the Bankruptcy Code.
                    xi. Class shall mean a grouping of substantially similar
                            Claims or Equity Interests for common treatment
                            thereof pursuant to the terms of this Plan.
                  xii. Code shall mean Title 11 of the United States Code,
                            otherwise known as the Bankruptcy Code.
                xiii. Confirmation shall mean the entry of an Order by this
                            Court approving the Plan in accordance with the
                            provisions of the Bankruptcy Code.
                  xiv. Confirmation Hearing shall mean a hearing conducted
                            before the Bankruptcy Court for the purpose of
                            considering confirmation of the Plan.
                    xv. Confirmation Order shall mean an Order of the
                            Bankruptcy Court confirming the Plan in accordance

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                            with the provisions of Chapter 11 of the Bankruptcy
                            Code.
                  xvi. Creditor shall mean any person that has a Claim
                            against the Debtor that arose on or before the
                            Petition Date or a Claim against the Debtor’s estate
                            of any kind specified in section 502(g), 502(h) or
                            502(i) of the Bankruptcy Code.              This includes all
                            persons, corporations, partnerships, or business
                            entities holding claims against the Debtor.
                xvii. Debt means, refers to and shall have the same meaning
                            ascribed to it in Section 101(12) of the Code.
              xviii. Debtor shall mean                 Jerry A. Nardella.
                  xix. Disbursing Agent shall mean The Debtor or any party
                            appointed by and subject to Court approval, which
                            shall effectuate this Plan and hold and distribute
                            consideration to be distributed to holders of Allowed
                            Claims and Allowed Equity Interests pursuant to the
                            provisions of the Plan and Confirmation Order.
                    xx. Disclosure Statement               means and refers to the
                            Disclosure Statement filed by the Debtor as required
                            pursuant to Section 1125 et seq. of the Bankruptcy
                            Code.
                  xxi. Effective Date shall mean the day on which the
                            Confirmation Order becomes a Final Order.
                xxii. Equity Interest Holder shall mean the holder of an
                            equity interest in the Debtor.

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         1    xxiii. Equity Interest shall mean any interest in the Debtor
         2                  represented by stock, warrants, options, or other
         3                  rights to purchase any shares of stock in the Debtor.
         4      xxiv. Final Order shall mean an order of the Bankruptcy
         5                  Court or a court of competent jurisdiction to hear
         6                  appeals from the Bankruptcy Court which, not having
         7                  been reversed, modified, or amended, and not being
         8                  stayed, and the time to appeal from which or to seek
         9                  review or rehearing of which having expired, has
         10                 become final and is in full force and effect.
         11       xxv. Impaired when used as an adjective preceding the words
         12                 “Class of Claims” or “Class of Equity Interest”, shall
         13                 mean that the Plan alters the legal, equitable, or
         14                 contractual rights of the member of that class.
         15     xxvi. Person shall mean an individual, a corporation, a
         16                 partnership, an association, a joint stock company, a
         17                 joint venture, an estate, a trust, an unincorporated
         18                 organization, or a government or any political
         19                 subdivision thereof or other entity.
         20 xxvii. Petition Date shall mean the date on which the Debtor
         21                 filed this petition for relief commencing the Chapter
         22                 11 Case.
         23xxviii. Plan shall mean the Plan of Reorganization filed in
         24                 these Proceedings, together with any additional
         25                 modifications and amendments.
         26     xxix. Priority Non-Tax Claim shall mean a Claim entitled to
         27
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                            priority under sections 507(a)(2),(3), (4), (5), (6)
                            or (7) of the Bankruptcy Code, but only to the extent
                            it is entitled to priority in payment under any such
                            subsection.
                  xxx. Priority Tax Creditor shall mean a Creditor holding a
                            priority tax claim.
                xxxi. Priority Tax Claim shall mean any Claim entitled to
                            priority in payment under section 507(a)(8) of the
                            Bankruptcy Code, but only to the extent it is entitled
                            to priority under such subsection.
              xxxii. Proceedings shall mean the Chapter 11 Case of the
                            Debtor.
            xxxiii. Professional Persons means and refers to all
                            attorneys, accountants, appraisers, consultants, and
                            other professionals retained or to be compensated
                            pursuant to an Order of the Court entered under
                            Sections 327, 328, 330, or 503(b) of the Bankruptcy
                            Code.
              xxxiv. Professional Claim means and refers to a claim by any
                            and all professionals as provided for in Sections 327,
                            328, 330 and 503(b) of the Bankruptcy Code.
                xxxv. Proponent means Jerry A. Nardella.
              xxxvi. Reorganized Debtor means the Debtor after confirmation
                            of the Plan.
            xxxvii. Secured Claim means and refers to a Claim which is
                            secured by a valid lien, security interest, or other

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                            interest in property in which the Debtor has an
                            interest which has been perfected properly as required
                            by applicable law, but only to the extent of the value
                            of the Debtor’s interest in such property, determined
                            in accordance with Section 506(a) of the Bankruptcy
                            Code.
          xxxviii. Unsecured Claim shall mean any Claim against the
                            Debtor which arose or which is deemed by the
                            Bankruptcy Code to have arisen prior to the Petition
                            Date for such Debtor, and which is not (i) a secured
                            claim pursuant to Section 506 of the Bankruptcy Code,
                            as modified by section 1111(b) of the Bankruptcy Code,
                            or (ii) a Claim entitled to priority under sections
                            503 or 507 of the Bankruptcy Code.              “Unsecured Claim”
                            shall include all Claims against the Debtor that are
                            not expressly otherwise dealt with in the Plan.
              xxxix. Other Definitions, a term used and not defined herein
                            but that is defined in the Bankruptcy Code shall have
                            the meaning set forth therein.             The words “herein”,
                            “hereof”, “hereto, “hereunder”, and others of similar
                            import refer to the Plan as a whole and not to any
                            particular section, subsection, or clause contained in
                            the Plan.           Moreover some terms defined herein are
                            defined in the section in which they are used.
    C. Unclassified Claims
         Certain types of claims are not placed into voting classes;

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instead
     1 they are unclassified. They are not considered impaired and
they 2
     do not vote on the Plan because they are automatically entitled
to specific
     3      treatment provided for them in the Bankruptcy Code.                              As
such,4the Proponent has not placed the following claims in a class.
 The 5
     treatment of these claims is provided below.
         6
         1.Administrative Expenses and Fees
         7
         Administrative expenses are claims for costs or expenses of
administering
     8        the Debtor’s Chapter 11 case which are allowed under
Code 9
     Section 503(b). Fees payable to the Clerk of the Bankruptcy
Court10
      and the Office of the United States Trustee were also incurred
during
     11the Chapter 11 Case.                          The Code requires that all
administrative
     12        expenses be paid on the Effective Date of the Plan,
unless
     13a particular claimant agrees to a different treatment.
   Court
      14 Approval of Professional Compensation and Expenses Required:
         15 Court must approve all professional compensation and
         The
expenses.
     16   Each professional person requesting compensation in the
case 17
     pursuant to                 Sections           327,   328,   330, 331, 503(b) or 1103 of
the Bankruptcy
     18        Code shall file an application for allowance of final
compensation
     19      and reimbursement of expenses not later than ninety
(90)days
     20 after the Confirmation Date. Nothing herein shall prohibit
each 21
     professional person from requesting interim compensation during
the course
     22    of this case pending Confirmation of this Plan. No motion
or application
     23        is required to fix fees payable to the Clerk’s Office
or the
     24Office of the United States Trustee, as those fees are
determined
     25    by statute.
         26
         2.Priority Tax Claims
         27
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          Priority tax claims are certain unsecured income, employment and
other taxes described by Code Section 507(a)(8).                              The Code requires,
and thus this Plan provides, that each holder of such a 507(a)(8)
priority tax claim receives the present value of such claim in
deferred cash payments, over a period not exceeding six years from
the date of the assessment of such tax.
          D.Classified Claims and Interests
                  1.Classes of Secured Claims
          Secured claims are claims secured by liens on property of the
estate. The following represent all classes containing Debtor’s
secured pre-petition claims and their treatment under this Plan:




      CLASS#               DESCRIPTION              INSIDERS       IMPAIRED          TREATMENT
                                                      (Y/N)          (Y/N)
                                                    N          Y
     #1             Secured Claim of:                                         Judgment of $2,236,859.59
                                                                              to be paid in 240 equal
                    Name = Specialized Loan                                   monthly installments of
                    Servicing LLC as Servicing                                $12,972.88 + and Escrow
                    Agent for Banc of America                                 payment of $7,491.15 (for
                    Funding Corporation 2007-                                 taxes and insurance)for a
                    C, U.S. Bank National                                     total monthly payment of
                    Association, as Trustee                                   $20,464.03 commencing on
                    (Claim #2-2)                                              the effective date of the plan
                                                                              with interest calculated at
                    ·Collateral description =                                 3.5% per annum.
                    40 South Mountain Ave.,
                    Montclair, New Jersey
                    07042

                    ·Collateral value
                         =$1,800,000.00
                    ·    Claimed Priority of
                         security int. = 1st
                         Mortgage

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                    ·     Principal owed
                          =$2,105,223.50
                          (Judgment amount +
                          Interest calculated per
                          judgment through
                          2/28/2019 totaling
                          $124,136.09 +
                          Attorney’s Fees as per
                          Judgment totaling
                          $7,500.00

                    ·     Total claim amount
                          =$2,236,859.59 + per
                          diem interest after
                          2/28/2019 in the
                          amount of $115.35471
                          through effective date
                          of plan.
     #2             Secured Claim of:               N        Y            Consistent with the value
                                                                          of the collateral the claim
                    ·Name = Wells Fargo Bank,                             of this creditor shall be
                        N.A. (Claim #1-1)                                 reclassified as general
                                                                          unsecured and be paid
                    ·Collateral description = 40                          consistent with class # 5.
                         South Mountain Ave.,                             60 days following the
                         Montclair, New Jersey                            effective date of Debtor’s
                         07042                                            plan Debtor or Counsel for
                                                                          Debtor shall be permitted
                    ·     Collateral value                                to file a Discharge of
                          =$1,800,000.00                                  Mortgage voiding the
                    ·     Claimed Priority of                             mortgage lien on the
                          security int. = 2nd                             collateral.
                          Mortgage
                    ·
                    Total claim amount =
                         $973,070.94

                    Secured Claim of:
     #3                                             N        Y            Consistent with the value
                                                                          of the collateral the claim
                    ·Name = Boiling Springs
                                                                          of this creditor shall be
                        Savings Bank (Claim                               reclassified as general
                        #4-1)                                             unsecured and be paid
                                                                          consistent with class # 5.
                    ·Collateral description = 40                          60 days following the
                         South Mountain Ave.,                             effective date of Debtor’s
                         Montclair, New Jersey                            plan Debtor or Counsel for
                         07042                                            Debtor shall be permitted
                                                                          to file a Discharge of
                    ·     Collateral value                                Mortgage voiding the
                          =$1,800,000.00                                  mortgage lien on the
                    ·     Claimed Priority of                             collateral.

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                          security int. = 3rd
                          Mortgage
                    ·
                    Total claim amount =
                         $506,646.41




     #4             Secured Claim of:               N        Y            Consistent with the value
                                                                          of the collateral the claim
                    ·Name = Estate of Leonard                             of this creditor shall be
                        Rubin (Claim #3-1)                                reclassified as general
                                                                          unsecured and be paid
                    ·Collateral description = 40                          consistent with class # 5.
                         South Mountain Ave.,                             60 days following the
                         Montclair, New Jersey                            effective date of Debtor’s
                         07042                                            plan Debtor or Counsel for
                                                                          Debtor shall be permitted
                    ·     Collateral value                                to file a Discharge of
                          =$1,800,000.00                                  Mortgage voiding the
                    ·     Claimed Priority of                             mortgage lien on the
                          security int. = 4th                             collateral.
                          Mortgage
                    ·
                    Total claim amount =
                         $90,000.00




                         2. Priority Non-Tax Claims
          Certain priority non-tax claims that are referred to in Code
Sections 507(a)(3), (4), (5), (6), and (7) are entitled to priority
treatment.              These claims are to be treated as follows:
                  NONE
                         3. Class of General Unsecured Claims
          General unsecured claims are unsecured claims not entitled to
priority under Code Section 507(a). These claims are to be treated as
follows:
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          CLASS#                    DESCRIPTION                       IMPAIRED              TREATMENT
                                                                        (Y/N)




     #5                    General unsecured claims               Y              · Pymt interval = Quarterly
                           (includes all other creditors along                   (following the quarterly tax payment
                           with all under secured portions of                    due dates set forth by the IRS (1/15,
                           secured creditor claims listed in                     4/15, 6/15 & 9/15)
                           Class #2, 3 & 4                                       · Pymt amt/interval = pro-rata
                           · Total amt of claims =                               distribution, after payment in full of
                           $1,569,717.35                                         Chapter 11 Administrative Expenses.
                                                                                 The total amount to be distributed
                                                                                 before payment of Administrative
                                                                                 Expenses is $65,000.00
                                                                                 Administrative Expenses are
                                                                                 estimated to be $25,000.00, leaving
                                                                                 approximately $40,000.00 available
                                                                                 for distribution to Class # 5
                                                                                 · Begin date = first quarter following
                                                                                 effective date of plan
                                                                                 · End date = Approximately 4 years
                                                                                 after the effective date of the plan
                                                                                 · Interest rate 0.0% =$0.00
                                                                                 · Total payout is approximately 2.5%
                                                                                 Quarterly Payments shall be
                                                                                 $3,000.00




                         4. Class(es) of Equity Interest Holders
          The members of this class will be treated as follows:


          CLASS#                    DESCRIPTION                       IMPAIRED              TREATMENT
                                                                        (Y/N)

     #6                    Jerry A. Nardella, Individual          N              N/A



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    E. Acceptance or Rejection of Plan




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         Each impaired class of Creditors with claims against the
Debtor’s estate shall be entitled to vote separately to accept or
reject the Plan.                 A class of Creditors shall have accepted the Plan
if the Plan is accepted by at least two-thirds in the aggregate
dollar amount and more than one-half in number of holders of the
allowed Claims of such class that have accepted or rejected the Plan.
In the event that any impaired class of Creditors or Interest holders
shall fail to accept the Plan in accordance with Section 1129(a) of
the Bankruptcy Code, the Proponent reserves the right to request that
the Bankruptcy Court confirm the Plan in accordance with Section
1129(b) of the Bankruptcy Code.
    F. Means of Effectuating the Plan
         1.   Funding for the Plan
         The Plan will be funded by the following: A portion of Debtor’s

disposable income from future earnings.

         2. Post-confirmation Management:                   The Debtor

         3. Disbursing Agent

         The Debtor shall act as the disbursing agent for the purpose of

making all distributions provided for under the Plan.                            The Disbursing

Agent shall not be compensated.




                             III. TREATMENT OF MISCELLANEOUS ITEMS
    A. Executory Contracts and Unexpired Leases
         1. Assumptions
         The following are the unexpired leases and executory contracts

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to be assumed as obligations of the reorganized Debtor under this
Plan:


NONE


         2.       Rejections
         On the Effective Date, all executory contracts not assumed shall
be deemed to be rejected. The order confirming the Plan shall
constitute an order approving the rejection of the lease or contract.
If you are a party to a contract or lease to be rejected and you
object to the rejection of your contract or lease, you must file and
serve your objection to the Plan within the deadline for objecting to
the confirmation of the Plan.                       See Disclosure Statement for the
specific date.
     All proofs of claim with respect to claims arising from said

rejection must be filed with the Bankruptcy Court within the earlier of

(i) the date set forth for filing claims in any order of the Bankruptcy

Court approving such rejection or (ii) thirty (30) days after the

Confirmation Date.                     Any such claims, proofs of which are not filed

timely, will be barred forever from assertion.

    B. Retention of Jurisdiction.
         The Court shall retain jurisdiction of this                       case      pursuant to
the provisions of Chapter 11 of the Bankruptcy Code, pending the
final allowance or disallowance of all Claims affected by the Plan,
and to make such orders as are necessary or appropriate to carry out

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the provisions of this Plan.
         In addition, the Court shall retain jurisdiction to implement
the provisions of the Plan in the manner as provided under Section
1142, sub-paragraphs (a) and (b) of the Bankruptcy Code. If the Court
abstains from exercising, or declines to exercise jurisdiction, or is
otherwise without jurisdiction over any matter set forth in this
Section, or if the Debtor or the reorganized debtor elect to bring an
action or proceeding in any other forum, then this Section shall have
no effect upon and shall not control, prohibit or limit the exercise
of jurisdiction by any other court, public authority or commission
having competent jurisdiction over such matters.
    C. Procedures for Resolving Contested Claims.
         Objections to Claims and interests, except for those Claims more
specifically deemed Allowed in the Plan, may be filed by the
reorganized debtor or any party in interest up to and including sixty
(60) days following the entry of the Confirmation Order. With respect
to disputed Claims or interests, the Disbursing Agent will hold in a
separate interest bearing reserve account such funds as would be
necessary in order to make the required distribution on the Claim or
interest, as listed either in the Debtor’s schedules or the filed
proof(s) of claim.
     D.           Notices under the Plan
         All notices, requests or demands with respect to this Plan shall
be in writing and shall be deemed to have been received within five
(5) days of the date of mailing, provided they are sent by registered
mail or certified mail, postage prepaid, return receipt requested,

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and if sent to the Proponent, addressed to:




                                   Scott D. Sherman, Esquire
                                       MINION & SHERMAN
                                       Attorneys at Law
                                  33 Clinton Road – Suite 105
                                West Caldwell, New Jersey 07006
                                     Phone: (973) 882-2424
                                      Fax: (973) 882-0856
                              Email:   ssherman@minionsherman.com


                                IV. EFFECT OF CONFIRMATION OF PLAN
    A. Discharge
         This Plan provides that upon confirmation of the Plan, Debtor
shall be discharged of liability for payment of debts incurred before
Confirmation, to the extent specified in 11 U.S.C.§ 1141.                                  However,
any liability imposed by the Plan will not be discharged.                                  If
Confirmation of this Plan does not occur, the Plan shall be deemed
null and void.               In such event, nothing contained in this Plan shall
be deemed to constitute a waiver or release of any claims against the
Debtor or its estate or any other persons, or to prejudice in any
manner the rights of the Debtor or its estate or any person in any
further proceeding involving the Debtor or its estate.                               The
provisions of this Plan shall be binding upon Debtor, all Creditors
and all Equity Interest Holders, regardless of whether such Claims or
Equity Interest Holders are impaired or whether such parties accept


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this Plan, upon Confirmation thereof.


              B. Revesting of Property in the Debtor
         Except as provided in Section IV.D. hereinafter, and except as
provided elsewhere in the Plan, the Confirmation revests all of the
property of the estate in the Debtor.
              C. Modification of Plan
         The Proponent of the Plan may modify the Plan at any time before
Confirmation.               However, the Court may require a new disclosure
statement or revoting on the Plan if Proponent modifies the Plan
before Confirmation.
         The Proponent may also seek to modify the Plan at any time after
Confirmation so long as (1) the Plan has not been substantially
consummated and (2) the Court authorizes the proposed modification
after notice and a hearing.
         D.       Post-Confirmation Conversion/Dismissal
         A creditor or party in interest may bring a motion to convert or
dismiss the case under § 1112(b), after the Plan is confirmed, if
there is a default in performing under the Plan.                           If the Court orders
the case converted to Chapter 7 after the Plan is confirmed, then all
property that had been property of the Chapter 11 estate, and that
has not been disbursed pursuant to the Plan, will revest in the
Chapter 7 estate, and the automatic stay will be reimposed upon the
revested property only to the extent that relief from stay was not
previously granted by the Court during this case.


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          E.Post-Confirmation Quarterly Fees
    Quarterly fees pursuant to 28 U.S.C. Section 1930 (a)(6) continue
    to be payable to the office of the United States trustee post-
    confirmation until such time as the case is converted, dismissed,
    or closed pursuant to a final decree.




Dated: 3/8/2019                                     Proponent:   Jerry A. Nardella, Debtor
                                                    By:

                                                    /s/Scott D. Sherman
                                                    Scott D. Sherman
                                                    MINION & SHERMAN
                                                    Attorneys for Jerry A. Nardella, Debtor



Dated: 3/8/2019

                                                    /s/ Jerry A. Nardella
                                                    Jerry A. Nardella, Debtor




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